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                UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                      SHERMAN DIVISION


   Timothy Jackson,

                         Plaintiff,
                                                 Case No. 4:21-cv-00033-ALM
   v.

   Laura Wright, et al.,

                         Defendants.


                NOTICE OF WITHDRAWAL OF PLAINTIFF’S
                 MOTION FOR EXPEDITED DISCOVERY
        Plaintiff Timothy Jackson withdraws his motion for expedited discovery filed on
  March 9, 2021 (ECF No. 7). The parties held their Rule 26(f) conference yesterday,
  which moots the expedited-discovery request.


                                              Respectfully submitted.

                                               /s/ Jonathan F. Mitchell
   Michael Thad Allen*                        Jonathan F. Mitchell**
   Lead Attorney                              Texas Bar No. 24075463
   Connecticut Bar No. 435762                 Mitchell Law PLLC
   Allen Law, LLC                             111 Congress Avenue, Suite 400
   Post Office Box 404                        Austin, Texas 78701
   Quaker Hill, Connecticut 06375             (512) 686-3940 (phone)
   (860) 772-4738 (phone)                     (512) 686-3941 (fax)
   (860) 469-2783 (fax)                       jonathan@mitchell.law
   m.allen@allen-lawfirm.com
                                              ** signed with permission of lead
   * admitted pro hac vice                    attorney Michael Thad Allen

   Dated: April 15, 2021                      Counsel for Plaintiff




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                           CERTIFICATE OF SERVICE
      I certify that on April 15, 2021, I served this document through CM/ECF upon:

  Matthew Bohuslav
  Assistant Attorney General
  General Litigation Division
  Post Office Box 12548
  Austin, Texas 78711-2548
  (512) 463-2120 (phone)
  (512) 320-0667 (fax)
  matthew.bohuslav@oag.texas.gov

  Counsel for Defendants



                                           /s/ Jonathan F. Mitchell
                                          Jonathan F. Mitchell
                                          Counsel for Plaintiff




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